Case 2:17-cv-00617-AWA-DEM Document 18 Filed 09/19/18 Page 1 of 2 PageID# 301

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                               UNITED STATES DISTRICT COURT                    r
                          FOR THE EASTERN DISTRICT OF VIRGI> lA                    8EP 1 9 2018
                                           Norfolk Division
                                                                            CLEHK.U                  ' "•
 JEFFREY WILLIAM SMITH (1494875),

                Petitioner,

        V.                                                     ACTION NO. 2:17cv617

 HAROLD W. CLARKE, Director
 Virginia Department of Corrections,

                Respondent.

                                           FINAL ORDER


        This matterwas initiatedbypetitionfor a writ of habeas corpusunder 28 U.S.C. § 2254. The

 petition alleges violation ofPetitioner's constitutional rights pertaining to hisconvictions in2014 in

 Portsmouth Circuit Court for armed burglary, robbery, use of a firearm in the commission of a

 robbery, attempted capital murder, use of a firearm in the commission of attempted capital murder,

 shooting a firearm from a vehicle so as to endangerothers, wearing a mask in public, maliciously

 shootingat a law enforcement vehicle, andmisdemeanor destruction of property. As a result of the

 convictions. Petitioner was sentenced to serve life in prison, plus 52 years' imprisoimient.

        The petitionwasreferred to a UnitedStatesMagistrate Judge forreportandrecommendation

 pursuant to the provisions of 28 U.S.C. § 636(b)(1)(B) and (C) and Local Civil Rule 72 of the Rules

 of the United States District Court for the Eastern District of Virginia. The Magistrate Judge's

 Report and Recommendation (ECF No. 17) was filed on August 17, 2018, and recommends

 dismissal of the petition with prejudice. The Report and Recommendation advised Petitioner of his

 right to object and the time limit for doing so.
Case 2:17-cv-00617-AWA-DEM Document 18 Filed 09/19/18 Page 2 of 2 PageID# 302



        The Court has received no objections, and the time for filing objections has now expired.

 Accordingly, the Court has reviewed the Report and Recommendation filed August 17, 2018, and

 finding no clear error, does accept the findings and recommendations set forth in it. Therefore, it is

 ORDERED that Respondent's Motion to Dismiss (ECF No. 12) is GRANTED, and that the petition

 (ECF No. 1) is DENIED and DISMISSED with prejudice.

        Petitioner may appeal from the Judgment entered pursuant to this Final Order by filing a

 Notice of Appeal with the Clerk of this Court, United States Courthouse, 600 Granby Street,

 Norfolk, Virginia 23510, within thirty days from the date of entry of such Judgment.

        Petitioner has failed to demonstrate a substantial showing of the denial of a constitutional

 right. Therefore, the Court declines to issue any certificate ofappealabilitypursuantto Rule 22(b) of

 the Federal Rules of Appellate Procedure. See Miller-El v. Cockrell, 123 S. Ct. 1029,1039(2003).

        The Clerk is directed to mail a copy of this Final Order to Petitioner and provide an electronic

 copy of the Final Order to counsel of record for Respondent.




                                                     Aren3H-±rWright Allen
                                                   United States District Judge
 Norfolk, Virginia

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